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AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
- Southern District of Texas

 

 

 

United States of America )
OW )
Rene TAFOLLA CaseNo. M-14- 1314-M
DOB: 1944 )
)
Defendant(s)
CRIMINAL COMPLAINT L
I, the complainant:i in this case, state-that the following i is true to the best of 1 my knowledge and belief.
On or about the date(s) of June 6, 2019 in the county of -__ Hidalgo in the |
Southern District of Texas , the defendant(s) violated: . | , .
Code Section | | Offense Description

18 U.S.C. 2252A (a)(2)(A) Receipt of Child Pornography

This criminal complaint is based on these facts:

SEE ATTACHMENT "A"

¥ Continued on the attached sheet.

Agproved -Michapl Mitchell AUSA if Lh. lan
Me Mtl 6-6-4 fla, olen

Printed name and title

Sworn to before me and signed in my presence.

Date: 6/6/2019 _~ <8 SGah.

City and state: McAllen, Texas _ U.S. Magistrate Judge Juan F: Alanis_

- Printed name and title

  

 

dge’s signature

   
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ATTACHMENT “A”

On October 19, 2018, Homeland Security Investigations (HSI) Rio Grande Valley Child Exploitation
Investigations Task Force (RGV CEITF) Special Agent (SA) Joseph Baker began an internet investigation to
identify persons using peer-to-peer (P2P) software on the internet to traffic in child pornography. .SA
Baker identified a computer, located at internet protocol (IP) address 72.180.141.53, offering to
participate in the distribution of images and videos of child pornography. Several videos were reviewed
as representative samples, and they met the federal definition of child pornography. Subsequent
investigation revealed that IP address 72.180.141.53 was utilized from the residence located at 1612
Orange Avenue, Apartment 5, Weslaco, Texas.

On Thursday, June 6, 2019, the HSI RGV CEITF executed a residential search warrant at 1612 Orange ~
Avenue, Apartment 5, Weslaco, Texas. The search warrant was executed without incident and resulted
in the seizure of three (3) cell phones and one (1) Chromebook laptop computer. .. (

One of the occupants of the residence, Rene TAFOLLA (DOB 05/24/1979), agreed to accompany agents to
the HSI McAllen office for an interview. During a post-Miranda interview, TAFOLLA admitted to
downloading, receiving and possessing child pornography frequently for approximately five (5) years.
' Further, TAFOLLA admitted to recently receiving and possessing child pornography on his Samsung cell
phone, which he later told agents was located under his pillow in his room.

A forensic analysis showed evidence of TAFOLLA receiving child pornography from a personal contact on.
his Samsung cell phone. TAFOLLA admitted to downloading and receiving from child pornography from
multiple individuals on the internet. TAFOLLA also stated he was aware that it is illegal to download,
receive and possess child pornography.
